
This matter having come before the Court upon the filing of a Petition for Disciplinary or Remedial Action, with attached certified copy of an Order entered December 14, 2016, whereby the United States District Court for the District of Maryland indefinitely suspended Lawal Momodu from the Bar of that Court, with a right to apply for reinstatement no sooner than one year from the date of the Order; and it appearing that said Lawal Momodu is admitted to the Bar of this Court;
NOW, THEREFORE, it is this 28th day of July, 2017, **717ORDERED, by the Court of Appeals of Maryland, in accordance with Maryland Rule 19-737(d), that Lawal Momodu, Respondent, is hereby suspended, effective immediately, from the practice of law in the State of Maryland, pending further order of this Court; and it is further
ORDERED, that the Clerk of this Court shall strike the name of Lawal Momodu from the register of attorneys in this Court and comply with the notice provisions of Maryland Rule 19-761(6).
